         Case 3:19-cr-00621-EMC Document 364 Filed 08/04/22 Page 1 of 1




                           UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF CALIFORNIA

                                     TRIAL MINUTES

 Date: August 4, 2022                Time in Court: 4 hours, 10 Judge: EDWARD M. CHEN
                                     minutes
 Case No.: 19-cr-00621-EMC-1         Case Name: USA v. Abouammo

Attorneys for Plaintiff/Gov’t: Colin Sampson, Eric Cheng and Christine Bonomo.
Attorney for Defendant: Angela Chuang and Jerome Matthews

Deputy Clerk: Vicky Ayala                        Court Reporter: Joan Columbini

                                      PROCEEDINGS

Jury Trial – held.

                                        SUMMARY


Witnesses: N/A

Admitted Exhibits: N/A


See Trial Log for further details.
